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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

        v.                                                     14-CR-215V

 STEVEN A. CORREA, JR.,                                        DECISION AND ORDER

            Defendant.
___________________________________


       1. On August 28, 2018, the defendant, Steven A. Correa, Jr., pleaded guilty to

Count 1 of the indictment charging a violation of Title 21, United States Code, Section

846 (conspiracy to possess with intent to distribute, and conspiracy to distribute, 5

kilograms or more of cocaine). Docket Item 1.

       2.     On August 28, 2018, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 184.

       3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

       4. This Court has carefully reviewed de novo Judge Schroeder’s

Report & Recommendation (docket item 184), the plea agreement (docket item 181),

the indictment (docket item 1), a transcript of the digital FTR recording of the plea

proceeding (docket item 188), and the applicable law. This Court finds no legal or

factual error in Judge Schroeder’s Report & Recommendation and therefore adopts
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Judge Schroeder’s recommendation that the defendant’s plea of guilty be accepted and

that the defendant be adjudged guilty of Count 1 of the indictment.

         IT IS HEREBY ORDERED that this Court adopts Judge Schroeder’s August 28,

2018 Report & Recommendation, Docket Item 184, in its entirety, including the

authorities cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Steven A. Correa, Jr., is now adjudged guilty under Title 21, United

States Code, Section 846.



         SO ORDERED.

Dated:         September 12, 2018
               Buffalo, New York



                                               s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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